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 1                                                            Judge Marsha J. Pechman
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   UNITED STATES OF AMERICA,                 )
                                               )      NO.     CR10-47MJP
10                        Plaintiff,           )
                                               )
11                 v.                          )      ORDER ON
                                               )      PROTECTIVE ORDER
12   SARAH TUCKER,                             )
     SHANE GRANT, and                          )
13   LINDSEY HARRIS                            )
                                               )
14                        Defendant.           )
                                               )
15

16          This matter comes before the Court on the United States and the defendant Shane
17   Grant’s stipulated Motion for Entry of a Protective Order, and the Court, having
18   considered the Motion and being fully advised in this matter hereby enters the following
19   Protective Order:
20          The personal information related to any victims or witnesses, and any document
21   containing personal information related to any victims or witnesses, provided by the
22   government in discovery, is deemed Protected Material. As used in this Order, the term
23   “personal information” refers to each victim’s or witness’ date of birth, Social Security
24   number, driver’s license number, banking account numbers or other financial information,
25   address, telephone number, employment information, and medical information.
26          Possession of Protected Material is limited to attorneys of record in the above-
27   captioned case and members of the defense team assigned to assist with the representation
28   of defendant. The attorneys of record and members of the defense team may not provide

                                                                                 UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
     ORDER ON PROTECTIVE ORDER/TUCKER, et al. — 1                                Seattle, Washington 98101-1271
     CR10-47MJP                                                                           (206) 553-7970
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 1   copies of the Protected material to any other person, including any defendant in this case.
 2          The Order does not prohibit defense counsel or members of the defense team from
 3   reviewing or discussing the contents of documents containing personal information with
 4   the defendants and prospective witnesses during in-person meetings, and providing copies
 5   of documents in which Protected Material is redacted, as long as the defendants or
 6   prospective witnesses do not retain any un-redacted documents. Counsel and counsel’s
 7   employees shall keep any Protected Material secured whenever the Protected Material is
 8   not being used in furtherance of their work in the above captioned case and destroy such
 9   Protected Material at the conclusion of the case.
10          This Order may be modified if circumstances warrant and upon Order of the Court.
11          Violation of this Protective Order shall subject the violator to contempt of Court, or
12   any monetary or other sanctions deemed appropriate by the Court.
13

14          DATED this 9th day of March, 2010.


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                                               Marsha J. Pechman
17
                                               United States District Judge
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     Presented by:
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22

23
      /s/ Matthew D. Diggs
     MATTHEW D. DIGGS
24   Assistant United States Attorney
25

26
      /s/ Peter Camiel*                                  * Pursuant to Telephonic Authorization
27   PETER CAMIEL
     Attorney for Defendant Grant
28


                                                                                  UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
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     CR10-47MJP                                                                            (206) 553-7970
